









Dismissed and Memorandum Opinion filed July 29, 2004









Dismissed and Memorandum Opinion filed July 29, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00585-CR

____________

&nbsp;

CHARLES LEE GRABLE,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF
TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
232nd District Court

Harris County, Texas

Trial Court Cause No. 764,539

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N








Appellant=s appeal from his conviction was dismissed on May 16, 2003,
in cause number 14-02-335-CR, because the notice of appeal was not timely
filed.&nbsp; On September 25, 2003, this Court
dismissed an appeal from the trial court=s refusal to rule on appellant=s APetition for Nunc Pro Tunc Judgment,@ holding that the appeal did not fall
within the exceptions to the general rule that appeal may be taken only from a
final judgment of conviction.&nbsp; Appellant
filed three more appeals from the same trial court cause,&nbsp; two of which challenged the trial court=s refusal to rule on appellant=s APetition for Nunc Pro Tunc Judgment,@ and one that challenged the trial
court=s denial of appellant=s motion to recuse.&nbsp; These appeals were dismissed for want of
jurisdiction on January 29, 2004.&nbsp;
Appellant subsequently filed two more appeals from the same trial court
cause, one from the denial of a motion to recuse and one from the denial of a
petition for a court of inquiry, which were dismissed by opinion dated May 20,
2004.&nbsp; Now, appellant has filed another
appeal in the same trial court cause from the trial court=s May 26, 2004, denial of a request
for nunc pro tunc judgment.

Generally, an appellate court only has jurisdiction to
consider an appeal by a criminal defendant where there has been a final
judgment of conviction.&nbsp; Workman v.
State, 170 Tex.Crim. 621, 343 S.W.2d 446, 447 (1961);&nbsp; McKown v. State, 915 S.W.2d 160, 161
(Tex.App.‑‑Fort Worth 1996, no pet.).&nbsp; The exceptions include:&nbsp; (1) certain appeals while on deferred
adjudication community supervision, Kirk v. State, 942 S.W.2d 624, 625
(Tex.Crim.App.1997); (2) appeals from the denial of a motion to reduce bond,
TEX.R.APP. P. 31.1; McKown, 915 S.W.2d at 161;&nbsp; and (3) certain appeals from the denial of
habeas corpus relief, Wright v. State, 969 S.W.2d 588, 589 (Tex.App.‑‑Dallas
1998, no pet.);&nbsp; McKown, 915
S.W.2d at 161.

Because appellant=s appeal does not fall within the
exceptions to the general rule that appeal may be taken only from a final
judgment of conviction, we have no jurisdiction.&nbsp; Appellant has had ample notice, by our previous
opinions, that we have no jurisdiction to review this type of ruling in a
criminal case. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly,
the appeal is ordered dismissed.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed July 29, 2004.

Panel consists of Justices Fowler,
Edelman, and Seymore.

Do Not Publish C Tex. R. App. P. 47.2(b).

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